Case: 1:17-md-02804-DAP Doc #: 25 Filed: 12/22/17 1 of 1. PageID #: 304




                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION



IN RE: NATIONAL PRESCRIPTION,                    )   MDL No. 2804
OPIATE LITIGATION                                )
                                                 )   Case No. 17-md-2804
THIS DOCUMENT RELATES TO:                        )
                                                 )   Judge Dan Aaron Polster
ALL CASES                                        )
                                                 )   ORDER
                                                 )


       The Court has received and is considering the parties’ thoughtful suggestions on the

appointment of a special master or masters. After talking to counsel on January 9, 2018, I

believe I will have a better sense of where this MDL is going and I will be in a better position to

make a decision.

       IT IS SO ORDERED.




                                               /s/ Dan A. Polster December 22, 2017
                                              Dan Aaron Polster
                                              United States District Judge
